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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 ELIJAH PINALES, JUDA ROACHE,                Civil No. 24-00496 JAO-WRP
 ALOHA STRATEGICS LLC DBA
 DANGER CLOSE TACTICAL, JGB                  DECLARATION OF AIMEE M.
 ARMS LLC, SECOND AMENDMENT                  LUM
 FOUNDATION,

                     Plaintiffs,

              v.

 ANNE E. LOPEZ, IN HER OFFICIAL
 CAPACITY AS THE ATTORNEY
 GENERAL OF THE STATE OF
 HAWAI‘I,

                      Defendant.


                      DECLARATION OF AIMEE M. LUM

      Pursuant to 28 U.S.C. § 1746, I, AIMEE M. LUM, declare under penalty of

law that the following is true and correct and based on my personal knowledge of

the subject case:

      1.      I am an attorney duly licensed to practice in the State of Hawai‘i and

one of the attorneys for the Defendant in the above case.

      2.     Attached as Exhibit 1 is a true and correct copy of the Expert

Declaration of Saul Cornell dated December 20, 2024.
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      3.    Attached as Exhibit 2 is a true and correct copy of the Expert

Declaration of Robert J. Spitzer dated December 17, 2024.

      4.    Attached as Exhibit 3 is a true and correct copy of the Expert

Declaration of Louis Klarevas dated December 23, 2024.

      5.    Attached as Exhibit 4 is a true and correct copy of the Expert

Declaration of Elizabeth E. Cauffman dated December 20, 2024.

      DATED: Honolulu, Hawai‘i, December 23, 2024.

                                            /s/ Aimee M. Lum
                                            AIMEE M. LUM




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